
PER CURIAM.
In this direct criminal appeal, the public defender has filed a brief pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967). Although afforded an opportunity to do so, appellant has elected not to file a brief in proper person. Having reviewed the entire record, we agree that no reversible error occurred. Accordingly, we affirm the revocation of appellant’s probation, and the sentence imposed.. However, we note that it does not appear that a written order was entered revoking appellant’s probation. On remand, the trial court is directed to enter a written order, consistent with its oral pronouncement, revoking appellant’s probation.
AFFIRMED and REMANDED, with directions.
MINER, WEBSTER and MICKLE, JJ., concur.
